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                 Case 8:04-cr-00235-DKC Document 1689-1 Filed 06/20/14 Page 1 of 1

Reg. No . .-.#-, '3132~t23-:::f-:
rederal Medical Center. Carswell
P.O. Box 27137
Ft. Worth. TX 76127


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                                         District Court Of Md
                                         6500 Cherrywood LN
                                         C/O Judge Titus
                                         Greenbelt, MD 20770                                 RECEIVED IN THE CHAMBERS OF
                                         United States                                              ROGER W. TITUS

                                                                                                           JUN 1 9 2014

                                                                                             UNITED STATES DISTRICT JUDGE




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